Case 17-66139-wlh   Doc 20   Filed 12/18/17 Entered 12/18/17 12:34:56   Desc Main
                             Document      Page 1 of 8
Case 17-66139-wlh   Doc 20   Filed 12/18/17 Entered 12/18/17 12:34:56   Desc Main
                             Document      Page 2 of 8
Case 17-66139-wlh   Doc 20   Filed 12/18/17 Entered 12/18/17 12:34:56   Desc Main
                             Document      Page 3 of 8
Case 17-66139-wlh   Doc 20   Filed 12/18/17 Entered 12/18/17 12:34:56   Desc Main
                             Document      Page 4 of 8
Case 17-66139-wlh   Doc 20   Filed 12/18/17 Entered 12/18/17 12:34:56   Desc Main
                             Document      Page 5 of 8
Case 17-66139-wlh   Doc 20   Filed 12/18/17 Entered 12/18/17 12:34:56   Desc Main
                             Document      Page 6 of 8
Case 17-66139-wlh   Doc 20   Filed 12/18/17 Entered 12/18/17 12:34:56   Desc Main
                             Document      Page 7 of 8
Case 17-66139-wlh   Doc 20   Filed 12/18/17 Entered 12/18/17 12:34:56   Desc Main
                             Document      Page 8 of 8
